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                     UNITED STATES COURT OF APPEALS                           FILED
                             FOR THE NINTH CIRCUIT                             FEB 7 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
 LAURA SWIRSKI, an individual,                    No. 22-55047

                 Plaintiff-Appellant,             D.C. No. 3:20-cv-01321-LAB-MDD
                                                  Southern District of California,
  v.                                              San Diego

 PROTEC ASSOCIATION SERVICES,                     ORDER
 doing business as Protec Building Services,
 Inc., a California Corporation; DOES, 1 to
 100, inclusive,

                 Defendants-Appellees.

       On January 11, 2022, this court ordered appellant, within 21 days, either to

 move for voluntary dismissal of this appeal or show cause why it should not be

 dismissed for lack of jurisdiction. The order warned appellant that failure to

 comply would result in the automatic dismissal of the appeal by the Clerk of the

 Court. To date, appellant has not complied with the court’s order. Accordingly,

 this appeal is dismissed for failure to prosecute. See 9th Cir. R. 42-1.




 LCC/MOATT
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       This order served on the district court shall, 21 days after the date of the

 order, act as and for the mandate of this court.


                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Lance C. Cidre
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7




 LCC/MOATT                                 2                                     22-55047
